                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                No. 15-CR-31-LRR
 vs.                                                            ORDER
 WAYNE CHRISTOPHER WATKINS,
               Defendant.
                                ____________________

       The matter before the court is United States Chief Magistrate Judge Jon S. Scoles’s
Report and Recommendation (docket no. 70), which recommends that the court deny
Defendant Wayne Christopher Watkins’s Amended Motion to Suppress (docket no. 60).1
       On August 5, 2015, Defendant filed the Motion, which requests that the court
suppress all evidence seized from the search of Defendant’s residence pursuant to a federal
search warrant issued on May 6, 2014. The Motion alleges that the federal search warrant
relied in substantial part on a prior state tracking warrant containing intentionally or
recklessly false or misleading statements. On August 12, 2015, the government filed a
Resistance (docket no. 62). On August 17, 2015, Judge Scoles held a hearing on the
Motion. See Minute Entry (docket no. 68). Defendant appeared in court with his
attorney, Leslie Stokke. Assistant United States Attorney Dan Chatham represented the
government. On August 31, 2015, Judge Scoles issued the Report and Recommendation,
which recommends that the court deny the Motion. The Report and Recommendation



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        The Report and Recommendation analyzed both Defendant Watkins’s Amended
Motion to Suppress and Defendant Robert Carl Sharp’s Amended Motion to Suppress
(docket no. 64). On September 12, 2015, Defendant Sharp timely filed his Objections to
the Report and Recommendation of the Magistrate Court (docket no. 74). Accordingly,
the court will address the Report and Recommendation as to Defendant Sharp in a separate
order.


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states that “within fourteen (14) days after being served with a copy of this Report and
Recommendation, any party may serve and file written objections with the district court.”
Report and Recommendation at 24.
       The time to object to the Report and Recommendation has expired and neither
Defendant nor the government has filed any objections. The parties have thus waived their
right to a de novo review of the Report and Recommendation. See, e.g., United States v.
Newton, 259 F.3d 964, 966 (8th Cir. 2001) (“‘[A party’s] failure to file any objections
waived his right to de novo review by the district court of any portion of the report and
recommendation of the magistrate judge as well as his right to appeal from the findings of
fact contained therein.’” (quoting Griffini v. Mitchell, 31 F.3d 690, 692 (8th Cir. 1994))).
The court finds no plain error in Judge Scoles’s decision. See id. Accordingly, the court
ADOPTS the Report and Recommendation (docket no. 70). The Motion to Suppress
(docket no. 60) is DENIED.
       IT IS SO ORDERED.
       DATED this 16th day of September, 2015.




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